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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

SHREVEPORT DIVISION
YOLANDA BOLDEN CIVIL ACTION NO. 18-00648
VERSUS JUDGE HICKS
CADDO PARISH COMMISSION MAGISTRATE JUDGE HAYES
JURY TRIAL DEMANDED
JOINT MOTION TO DISMISS

NOW INTO COURT, through undersigned counsel, come Plaintiff YOLANDA BOLDEN
and Defendants CADDO PARISH COMMISSION AND PARISH OF CADDO, who move the court
as follows:

1.

The parties have reached an amicable settlement of the above captioned matter and all claims
have been resolved.

2.

The parties desire an order be entered dismissing the above captioned action with prejudice
with each party bearing their own costs and attorneys fees.

WHEREFORE, YOLANDA BOLDEN and CADDO PARISH COMMISSION AND
PARISH OF CADDO, pray for entry of an order dismissing the above captioned action with

prejudice with each party bearing their own costs and attorney’s fees.
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Respectfully submitted,

 

By:

 

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ATTORNEYS FOR DEFENDANTS, PARISH OF
CADDO AND CADDO PARISH COMMISSION
